               Case 22-1046, Document 156, 02/16/2023, 3470370, Page1 of 1




                             UNITED STATES COURT OF APPEALS
                                           FOR THE
                                      SECOND CIRCUIT
                         ____________________________________________

         At a Stated Term of the United States Court of Appeals for the Second Circuit, held at
the Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on
the 16th day of February two thousand twenty-three,

____________________________________

Jet Experts, LLC,                                         ORDER
                                                          Docket No. 22-1046
lllllllllllllllllllllPlaintiff - Appellee,

v.

Asian Pacific Aviation Limited, TVPX Aircraft
Solutions, Inc., in its capacity as owner trustee,

lllllllllllllllllllllDefendants-Counter-Claimants-
Appellants.
_______________________________________

       The parties in the above-referenced case have filed a stipulation withdrawing this appeal
pursuant to FRAP 42

        The stipulation is hereby "So Ordered".




                                                     For The Court:
                                                     Catherine O'Hagan Wolfe,
                                                     Clerk of Court
